        Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 1 of 12




                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA                  )
                                          )
            v.                            )                  Case No. 22-cr-00200 (APM)
                                          )
PETER K. NAVARRO,                         )
                                          )
      Defendant.                          )
_________________________________________ )

                         MEMORANDUM OPINION AND ORDER

                                                I.

       A grand jury indicted Defendant Peter K. Navarro on two counts of contempt of Congress,

in violation of 2 U.S.C. § 192. Count One alleged that Defendant refused to comply with a

subpoena for records issued by the U.S. House of Representative’s Select Committee to Investigate

the January 6th Attack on the U.S. Capitol (“Select Committee”). Count Two alleged that

Defendant failed to appear for a deposition sought by the same subpoena. A jury convicted him

on both counts. The court imposed a total sentence of four months of incarceration.

       In his sentencing memorandum, Defendant requested release pending appeal if the court

imposed a term of prison. Def.’s Mem. in Aid of Sentencing, ECF No. 160, at 21–29 [hereafter

Def.’s Sentencing Mem.]. The court agreed to defer ruling on that request until after Defendant

filed a supplemental brief, which he has now done. Def.’s Suppl. in Supp. of Release Pending

Appeal, ECF No. 168 [hereinafter Def.’s Suppl. Mem.]. Defendant raises four grounds to support

his motion for release pending appeal. As explained below, because Defendant has not shown that

any of those issues will pose a “substantial question of law” on appeal, his motion is denied.
          Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 2 of 12




                                                          II.

         Under 18 U.S.C. § 3143(b)(1), a court “shall order the release” of an individual pending

appeal if it finds: “(A) by clear and convincing evidence that the person is not likely to flee or pose

a danger to the safety of any other person or the community if released”; and “(B) that the appeal

is not for the purpose of delay and raises a substantial question of law or fact likely to result in”

“(i) reversal [or] (ii) an order for a new trial.” 1 There is no dispute here regarding Defendant’s

flight risk or dangerousness, nor is there any assertion that his appeal is for the purpose of delay.

Thus, the sole question before the court is whether Defendant’s forthcoming appeal raises

“a substantial question of law.” 2

         A “substantial question” is not merely an issue that is “fairly debatable,” “fairly doubtful,”

or “not frivolous.” United States v. Perholtz, 836 F.2d 554, 555 (D.C. Cir. 1987) (per curiam)

(citations omitted). Nor is it enough that the prosecution and some of the issues presented were,

as Defendant repeatedly asserts, “novel” or “unique.” Def.’s Sentencing Mem. at 1, 3, 22–23, 26,

28. A “substantial question” is “a ‘close’ question or one that very well could be decided the other

way.” Perholtz, 836 F.2d at 555 (citation omitted). That higher standard reflects a “presumption

of valid conviction,” which a defendant seeking release must overcome. Id. at 556.

                                                          III.

                                                          A.

         The court begins with Defendant’s contention concerning the D.C. Circuit’s decision in

Licavoli v. United States, 294 F.2d 207 (D.C. Cir. 1961). On the government’s motion in limine,




1
  Defendant does not argue that a successful appeal would result in either “a sentence that does not include a term of
imprisonment,” 18 U.S.C. § 3143(b)(1)(B)(iii), or “a reduced sentence to a term of imprisonment less than the total
of the time already served plus the expected duration of the appeal process,” id. § 3143(b)(1)(B)(iv).
2
  Defendant does not contend that he will raise a “substantial question of . . . fact” with respect to any of the court’s
factual determinations. 18 U.S.C. § 3143(b)(1)(B).

                                                           2
         Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 3 of 12




the court held that Licavoli precluded Defendant from arguing at trial that he had not “willfully

[made] default,” 2 U.S.C. § 192, because he had a good-faith belief that President Trump had

invoked executive privilege, which excused him from compliance. See United States v. Navarro

(Navarro II), 651 F. Supp. 3d 212, 238–39 (D.D.C. 2023). Defendant says he will contest that

ruling on appeal. He intends to argue that “Licavoli’s antiquated holding is inconsistent with prior

Circuit precedent” and that “Licavoli is inapplicable to assertions of executive privilege, which

implicate principles of separation of powers.” Def.’s Suppl. Mem. at 4. Neither of these issues

poses a “substantial question.”

                                                        1.

        In asserting that Licavoli’s holding is at odds with earlier Circuit authority, Defendant cites

only to Townsend v. United States, 95 F.2d 352 (D.C. Cir. 1938). Defendant’s reliance on

Townsend is curious. In that case, the defendant appeared before a congressional committee, made

a statement, and then left without answering any questions. Id. at 357–58. The defendant disputed

that his conduct was “willful,” claiming that he had to have acted with a bad purpose to violate

§ 192, and he had not done so. Id. The D.C. Circuit rejected that argument. Id. It instead said

that “[a] witness may exercise his privilege of refusing to answer questions and submit to a court

the correctness of his judgment in so doing, but in the event he is mistaken as to the law it is no

defense, for he is bound rightly to construe the statute.” Id. at 361. The court thus rejected a

mistake-of-law, or good-faith, defense. 3

        Townsend relied on the Supreme Court’s decision in Sinclair v. United States, in which the

Court held that acting in “good faith on the advice of competent counsel” was not a defense to



3
 If there were any doubt that the court rejected a good-faith defense in Townsend, the D.C. Circuit said the same in
two other post-Townsend, pre-Licavoli cases—Eisler v. United States, 170 F.2d 273, 280 (D.C. Cir. 1948) (citing
Townsend), and Dennis v. United States, 171 F.2d 986, 990 (D.C. Cir. 1948) (quoting Townsend).

                                                         3
        Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 4 of 12




contempt for refusing to answer pertinent questions. Id. (citing 279 U.S. 263, 299 (1929)). The

Court in Sinclair explained that a violation of § 192 requires no showing of “moral turpitude,” an

“[i]ntentional violation is sufficient to constitute guilt,” and a defendant’s “mistaken view of the

law is no defense.” 279 U.S. at 299. Subsequently, the D.C. Circuit in Licavoli relied on Sinclair

to hold that willful default under § 192 did not require a showing of “evil motive,” only

“a deliberate intention to do the act.” 294 F.2d at 209. Licavoli and Townsend thus rest squarely

on the same Supreme Court precedent, and there is no inconsistency between them that gives rise

to a “substantial question.”

                                                  2.

         Defendant’s second argument regarding Licavoli is entirely conclusory. He makes no

genuine effort to explain why Licavoli is inapplicable because his case involved an assertion of

executive privilege. Def.’s Suppl. Mem. at 4–5. He cites only to Pauling v. Eastland for the black-

letter principle that, when a defendant challenges an indictment or conviction, “the court must

apply the law, paying heed and giving effect, first of all, to Constitutional provisions.” Id. (quoting

288 F.2d 126, 129 (D.C. Cir. 1960)). No one contends otherwise.

       In any event, limiting Licavoli as Defendant proposes would produce an incongruous

result. It would mean that the government’s burden to prove willfulness was heavier in this case

than in others because Defendant is a former senior aide to a former President who had a good

faith belief that executive privilege excused his noncompliance. The court is aware of no authority

that increases or alters the government’s evidentiary burden as to the mens rea element of a crime

based on a defendant’s official position and his professed state of mind. “Like any other person

charged with a violation of § 192, Defendant [could not] assert as a defense that he refused to




                                                  4
        Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 5 of 12




appear because he had a good faith belief that he was not legally required to do so.” Navarro II,

651 F. Supp. 3d at 239.

                                               B.

       The court next addresses Defendant’s arguments regarding the claimed effect his

invocation of executive privilege had on the government’s authority to prosecute him for contempt

of Congress. But first some background is in order.

       Prior to trial, Defendant moved to dismiss the indictment. He argued that, as a former

senior aide to the President who had legitimately asserted executive privilege, he was immune

from compelled congressional process and, for that reason, he could not be prosecuted for

contempt under § 192. See id. at 222. The court refused to dismiss the indictment at that stage

because Defendant had not “come forth with some evidence to show that President Trump made a

‘formal claim of privilege’ after ‘personal consideration’ with respect to the Select Committee

subpoena.” Id. at 223.

       The court then gave Defendant a second bite at the apple. It held an evidentiary hearing so

that Defendant could offer proof that the former President in fact had invoked executive privilege

in response to the Select Committee’s subpoena issued to him. Defendant testified at that hearing

and presented evidence. Still, the court found that Defendant “ha[d] not carried his burden of

establishing a formal claim of privilege from President Trump after his personal consideration of

the Select Committee subpoena, or that President Trump had authorized him to make a

determination about whether to invoke executive privilege with respect to the subpoena.” Hr’g Tr.,

August 30, 2023, ECF No. 149, at 23–24 [hereinafter Evid. Hr’g Tr.].

       Now, Defendant argues that “the question of whether an invocation of executive privilege

is required and what is required for a ‘proper’ invocation are both ‘close questions’ or questions



                                                5
        Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 6 of 12




‘that could very well could be decided the other way.’” Def.’s Suppl. Mem. at 5–6; see also Def.’s

Sentencing Mem. at 24–26 (same). The court disagrees.

                                                  1.

       Whether a President’s invocation is required to assert executive privilege is not a

substantial question. The answer is surely “yes.” See Nixon v. Sirica, 487 F.2d 700, 714–15

(D.C. Cir. 1973) (“Whenever a privilege is asserted, even one expressed in the Constitution, . . . it

is the courts that determine the validity of the assertion and the scope of the privilege.” (emphasis

added)). Any other answer would mean that the President has unilateral authority to determine

when and how the privilege applies. That is not the law. Id. at 715 (“To leave the proper scope

and application of Executive privilege to the President’s sole discretion would represent a mixing,

rather than a separation, of Executive and Judicial functions.”); see also Evid. Hr’g Tr. at 12

(explaining that “the terms ‘claimed’ or ‘invoked’ with respect to privilege, those are two verbs

that, in my view, require an act of some affirmative conduct, that is, by either the President or

someone who the President has designated and authorized to make the claim on the President’s

behalf”) (citing Dellums v. Powell, 561 F.2d 242, 248 (D.C. Cir 1977)).

       Citing United States v. Nixon, Defendant insists that “executive privilege is presumptive”

and he was duty-bound to invoke it. Def.’s Suppl. Mem. at 5 (citing 418 U.S. 683, 708 (1974)).

But Nixon does not stand for the proposition that Congress and the courts should unfailingly accept

that executive privilege applies whenever an aide to the President asserts it. The D.C. Circuit

rejected a similar argument long ago. See Sirica, 487 F.2d at 715 (“If the claim of absolute

privilege was recognized, its mere invocation by the President or his surrogates could deny access

to all documents in all the Executive departments to all citizens and their representatives, including

Congress . . . . Support for this kind of mischief simply cannot be spun from incantation of the



                                                  6
        Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 7 of 12




doctrine of separation of powers.”). What the Nixon Court meant by “presumptively privileged”

is that courts will assume the privilege applies when invoked, but it is not an absolute privilege

and can be overcome by countervailing considerations. 418 U.S. at 708; see Trump v. Thompson,

20 F.4th 10, 26 (D.C. Cir. 2021) (stating that “executive privilege is a qualified one”). Nowhere

did the Court suggest that the privilege has effect when the President does not invoke it.

       If anything, President Nixon did what President Trump could have done here. Through his

counsel, he unequivocally claimed executive privilege by moving to quash the grand jury

subpoena. Nixon, 418 U.S. at 688 (stating that “[t]his motion was accompanied by a formal claim

of privilege”). Because the court found no evidence that President Trump ever invoked the

privilege, no “presumption” ever attached to Defendant’s testimony or records.

                                                      2.

       As to “what is required for a ‘proper’ invocation,” the court previously acknowledged that

this is an “open question” in the D.C. Circuit. Evid. Hr’g Tr. at 6–7. This court answered that

question in part by adopting the approach suggested in dicta in Dellums v. Powell. Id. at 10–13

(citing Dellums, 561 F.2d at 248) (stating that “[a]nalytically, there is much to be said for the

proposition that the . . . presidential privilege must be claimed by the president or an official

authorized to speak for the president”).

       Yet, after over a year of litigation, Defendant still has not offered what he thinks is required

for a proper invocation of executive privilege. Nor has he articulated why the court’s reliance on

Dellums was wrong. He has conceded that his invocation alone had no legal significance unless

it was actually done at the behest of President Trump or his designee. See Hr’g Tr., November 4,

2022, ECF No. 64, at 20–21 (defense counsel not contesting that it would be ineffective for a

former senior advisor to invoke privilege without an instruction to do so). That begs the question:



                                                  7
        Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 8 of 12




what does a President, current or former, have to do to properly assert executive privilege?

Defendant has not supplied an answer. Defendant thus has not carried his burden to show that this

question is a “close” one.

                                                3.

       It is important to note that the questions Defendant intends to raise about a President’s

proper invocation of executive privilege, even if answered in his favor, likely will not lead to

reversal of his conviction for refusing to appear for testimony (Count Two). The questions matter

to Defendant because, throughout these proceedings, he has argued that, (1) as a former senior aide

to a former president who asserted executive privilege, he enjoyed immunity from the

congressional process and therefore was not required to appear before the Special Committee, and

(2) because he properly declined to appear, the contempt statute does not reach his conduct.

See Navarro II, 651 F. Supp. 3d at 222. For that proposition, he has relied on various memoranda

from the Office of Legal Counsel (“OLC”), see id.; United States v. Navarro (Navarro IV), No. 22-

cr-200 (APM), 2023 WL 4936723, at *3 (D.D.C. July 28, 2023), which he cites again in his

supplemental memorandum, Def.’s Suppl. Mem. at 5 (citing Prosecution for Contempt of Cong.

of an Executive Branch Official Who Has Asserted a Claim of Executive Privilege, 8 Op. O.L.C.

101, 134 (1984)).

       No OLC opinion, however, goes as far as Defendant contends. The OLC opinions express

the view that, when the President invokes executive privilege in response to a subpoena from

Congress, “current and former senior advisors to a sitting President enjoy absolute immunity from

compelled congressional testimony” about official acts, and that a senior advisor who follows a

President’s instruction not to testify about such matters cannot be prosecuted for contempt.

Navarro IV, 2023 WL 4936723, at *3 n.1. But “no OLC opinion [] recognizes absolute immunity



                                                8
          Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 9 of 12




from congressional process for a former senior aide to a former President,” even as to official acts,

see infra, and not even Defendant claims that such immunity reaches testimony about non-official

acts. See Navarro IV, 2023 WL 4936723, at *3 & n.1. Thus, even if the former President had

invoked privilege, at a minimum, such invocation did not reach testimony pertaining non-official

acts. 4 Therefore, no authority excused his complete non-appearance before the Select Committee.

         Moreover, by the end of these proceedings, Defendant had backed off of his claim of

absolute testimonial immunity. He agreed instead that a former aide to a former president, at most,

enjoys a qualified immunity. See United States v. Navarro (Navarro III), No. 22-cr-200 (APM),

2023 WL 4846715, at *1 (D.D.C. July 28, 2023) (citing Hr’g Tr., June 21, 2023, ECF No. 90, at

83–84). This court ruled that qualified immunity did not justify Defendant’s refusal to appear

before the Select Committee to sit for a deposition, even regarding official acts. Evid. Hr’g Tr. at

28–36. Defendant has not argued that that determination presents a “close question.” Thus, even

if President Trump had properly invoked executive privilege—and there is no evidence he did

so—qualified testimonial immunity would not have excused his failure to appear or foreclosed his

prosecution.

                                                          C.

         Defendant’s claim of testimonial immunity does not extend to his conviction for refusing

to produce documents to the Select Committee (Count One). So, Defendant offers a different

question regarding the documents count: whether his prosecution violated principles of “separation

of powers.” Def.’s Suppl. Mem. at 6. Defendant argues that because neither he nor Congress



4
  The Special Committee sought at least some information about Defendant’s non-official acts. For example, the
Select Committee was interested in asking Defendant about reports he published in December of 2020, which argued
that a pattern of irregularities showed that the election had been stolen from President Trump. As the court noted at
sentencing, when Defendant issued those reports he publicly stated that he was doing so in his personal capacity, thus
falling outside of any claim of privilege. Sentencing Hr’g Tr. (draft), January 25, 2024, at 88; cf. Blassingame v.
Trump, 87 F.4th 1, 4 (D.C. Cir. 2023) (holding that a President’s re-election campaign activities are not official acts).

                                                           9
       Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 10 of 12




could resolve his executive privilege claim as to records—only a court had the authority to do so—

and because no court ever resolved the privilege dispute, his prosecution violated the separation

of powers. Id. More precisely, he “submits that his assertion of executive privilege precluded his

prosecution absent [a judicial] order overcoming the privilege and compelling his testimony.”

Def.’s Sentencing Mem. at 26. For that proposition, Defendant cites to the D.C. Circuit’s decision

in Tobin v. United States, in which the court approvingly quoted the trial court’s observation that

“where the contest is between different governmental units, the representative of one unit in

conflict with another should not have to risk jail to vindicate his constituency’s rights.” Def.’s

Suppl. Mem. at 6–7 (citing 306 F.2d 270, 276 (D.C. Cir. 1962)). Defendant’s “pre-prosecution

judicial order” theory does not present a “close question.”

       For starters, the claimed need for a judicial determination as a condition to prosecution

likely is a forfeited argument. If, as Defendant contends, a prosecution against him could not

proceed until after a court resolved all privilege disputes, it was incumbent upon him to tell the

Special Committee that he in fact had potentially privileged records in his possession. See

McPhaul v. United States, 364 U.S. 372, 379 (1960) (stating the defendant should have identified

any legitimate reason not to produce records “upon the return of the writ”) (quoting United States

v. Bryan, 339 U.S. 323, 332 (1950)). But Defendant asserted executive privilege before receiving

the subpoena, and then had no communications with the Select Committee until after the deadline

to produce records had passed. If he had told the Committee that he in fact had potentially

privileged records, “[s]uch a statement would have given the [Select Committee] an opportunity

to avoid the blocking of its inquiry by taking other appropriate steps to obtain the records.” Id.

Because of his silence then, Defendant cannot now complain that his prosecution was improper

because there was no judicial resolution of the privilege claim.



                                                10
         Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 11 of 12




         Nor does Tobin give rise to a “substantial question.” Indeed, Defendant’s selective quoting

of Tobin demonstrates the weakness of his position. Tobin involved a congressional subpoena to

the Port of New York Authority. Thus, the case concerned not a dispute between Congress and

the Executive Branch, but Congress and a state-level entity. Defendant omits the text that precedes

his preferred portion:

                  Although this question is not before the Court, it does feel that if
                  contempt is, indeed, the only existing method, Congress should
                  consider creating a method of allowing these issues to be settled by
                  declaratory judgment. Even though it may be constitutional to put
                  a man to guessing how a court will rule on difficult questions like
                  those raised in good faith in this suit, what is constitutional is not
                  necessarily most desirable.

306 F.2d at 276 (emphasis added). So, it is true that in Tobin the D.C. Circuit acknowledged the

challenges inherent in resolving hard issues within a contempt proceeding. But it also recognized

that it would be “constitutional” to do so. The court betrayed not even a hint that, if a privilege

dispute arises, a judicial resolution is a necessary precondition to prosecution under the contempt

statute. 5

                                                         D.

         Defendant’s final proposed “substantial question” merits little discussion. Defendant

insists that his prosecution was “motivated by political bias.” Def.’s Sentencing Mem. at 26–29.

Yet, he offers no actual proof to support that contention. See id. at 27–28 (asserting that political

bias can be discerned from the prosecution’s trial references to the events of January 6th); see also

United States v. Navarro (Navarro I), 627 F. Supp. 3d 1, 7–8 (D.D.C. 2022) (holding that

Defendant had failed to come forward with evidence to support a “colorable claim” of a selective


5
  When it previously rejected this argument, the court did observe that perhaps “the Court of Appeals will rule
differently.” Evid. Hr’g Tr. at 30. But the court’s passing remark during an oral ruling was not made in the context
of considering whether the issue presented a “substantial question” and should not be equated with its more considered
judgment reflected in this written opinion.

                                                         11
        Case 1:22-cr-00200-APM Document 169 Filed 02/08/24 Page 12 of 12




prosecution). If anything, the record demonstrates just the opposite. See Navarro I, 627 F. Supp.

3d at 5–6 (discussing the absence of political bias in Department of Justice’s decision to not

prosecute two of the former President’s closest aides, Chief of Staff Mark Meadows and Deputy

Chief of Staff Dan Scavino, both of whom were subpoenaed but did not testify before the Select

Committee); Sentencing Hr’g Tr. (draft), January 25, 2024, at 90 (same). Defendant’s cynical,

self-serving claim of political bias poses no question at all, let alone a “substantial” one.

                                                 IV.

       For the foregoing reasons, Defendant’s request for release pending appeal is denied.

Unless this Order is stayed or vacated by the D.C. Circuit, Defendant shall report to the designated

Bureau of Prisons (“BOP”) facility on the date ordered by the BOP.




Dated: February 8, 2024                                       Amit P. Mehta
                                                       United States District Court Judge




                                                  12
